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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                     :        MDL No. 2804
OPIATE LITIGATION                               :
                                                :        Case No. 17-md-2804
This document relates to:                       :
                                                :        Judge Dan Aaron Polster
Salmons v. Purdue Pharma L.P., et al.           :
MDL Case No. 1:18-op-45268;                     :
                                                :
Flanagan v. Purdue Pharma L.P., et al.          :
MDL Case No. 1:18-op-45405;                     :
                                                :
Doyle v. Purdue Pharma L.P., et al.             :
MDL Case No. 1:18-op-46327.                     :


                DECLARATION OF THOMAS E. BILEK IN SUPPORT OF
                         THE NAS GUARDIANS’ REPLY
            IN SUPPORT OF THEIR MOTION FOR CLASS CERTIFICATION

       I, Thomas E. Bilek, hereby declare as follows:

       1.     I am a partner with The Bilek Law Firm, L.L.P., one of lead counsel for the NAS
Guardian plaintiffs and the Class in these actions.

       2.     I submit this Declaration in support of the NAS Guardians’ Reply in Support of
Their Consolidated Motion for Class Certification and Appointment of Class Counsel.

       3.     Attached hereto are true and correct copies of the following exhibits:

       Exhibit 1:   Key Expert Deposition Testimony

       Exhibit 2:   Deposition excerpts of Dr. Kanwaljeet Anand

       Exhibit 3:   Deposition excerpts of Dr. Henry Lee

       Exhibit 4:   Deposition excerpts of Dr. Lewis Rubin

       Exhibit 5:   Deposition excerpts of Dr. Christina Porucznik

       Exhibit 6:   Deposition excerpts of Dr. Tricia Wright

       Exhibit 7:   Deposition excerpts of Dr. Pradeep Chintagunta
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     Exhibit 8:   March of Dimes. Caring for a Baby with NAS. 2018, Oct. Available at
                  marchofdimes.org/nas

     Exhibit 9:    Spithoff S, Leece P, Sullivan F, et al. Drivers of the opioid crisis: An
                  appraisal of financial conflicts of interest in clinical practice guideline
                  panels at the peak of opioid prescribing. PLoS ONE. 2020;15(1):e0227045.
                  doi:10.1371/journal.pone.0227045

     Exhibit 10: Chutchian M. Purdue Pharma settlement proceeds to go to opioid abatement
                 programs, states say. Westlaw News. 2020, Sep. Available at
                 https://www.reuters.com/article/bankruptcy-purdue-idUSL2N2GK2OG

     Exhibit 11: Hearing Transcript. In the Matter of Purdue Pharma L.P. Case No. 19-
                 23649-rdd (Adv. Case No. 19-08289-rdd). Sep 20, 2020

     Exhibit 12: FILED UNDER SEAL:
                 Purdue Pharma, Mundipharma. PDF of PowerPoint slides, including
                 bankruptcy case documents with Bates numbers PPLP004390587 and
                 PPLPC020000932832

     Exhibit 13: Sackler, Dr. Richard. Email “RE mtg at aps.” Received by Goldenheim,
                 Paul. 13 Apr 2001

     Exhibit 14: Lee AJ, Bandari J, Macleod LC, et al. Concentration of Opioid-Related
                 Industry Payments in Opioid Crisis Areas. J Gen Intern Med. 2018
                 34(2):187-9. doi:10.1007/s11606-018-4700-7

     Exhibit 15: Hadland SE, Rivera-Aguirre A, Marshall BD, et al. Association of
                 Pharmaceutical Industry Marketing of Opioid Products With Mortality From
                 Opioid-Related Overdoses. JAMA Netw Open. 2019;2(1):e186007.
                 doi:10.100/jamanetworkopen.2018.6007

     Exhibit 16: Fang L. Makers of Oxycontin Bankroll Efforts to Undermine Prescription
                 Painkiller Reform. Intercept. 2015. Available at https://theintercept.com/
                 2015/12/23/oxycontin-cdc-politics/

     Exhibit 17: Lurie J. Big Pharma Has a Big Role on the Federal Committee Tasked with
                 Curbing Opioid Abuse. Mother Jones. 2019. Available at https://www/
                 motherjones.com/politics/2019/05/big-pharma-has...e-on-the-federal-
                 committee-tasked-with-curbing-opioid-abuse/

     Exhibit 18: CDC FAC. Ethics and Confidential Financial Disclosure for Special
                 Government Employees. 2020. https://www.cdc.gov/faca/ethics/index.html




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     Exhibit 19: Letter from Ron Wyden, Ranking Member, US Senate Committee on
                 Finance, to Alex Azar, Sec’y, US Dept of Health & Human Services (Dec.
                 18, 2018) (on file with author)

     Exhibit 20: US Office of Government Ethics. To Serve With Honor. 2008. Available at
                 https://www2.oge.gov/web/oge.nsf/Education%20Resources%20for%20
                 Ethics%20Officials/7FB810D106E32FC985257F6B00528843/%24FILE/bk
                 ServeHonor.pdf?open

     Exhibit 21: NCSL. Prescribing Policies: States Confront Opioid Overdose Epidemic.
                 2019. Available at https://www.ncsl.org/research/health/prescribing-
                 policies-states-confront-overdose-epidemic.aspx

     Exhibit 22: Carey C, Lieber EM, Miller S. Drug Firms' Payments and Physicians'
                 Prescribing Behavior in Medicare Part D. NBER. 2020.

     Exhibit 23: Dean J. After free lunch from drug firms, doctors increase prescriptions.
                 Cornell Chronicle. 2020. Available at https://news.cornell.edu/stories/

     Exhibit 24: Deposition excerpts of Melissa Barnwell

     Exhibit 25: Deposition excerpts of Ashley Poe

     Exhibit 26: Deposition excerpts of Jacqueline Ramirez

     I declare under penalty of perjury that the foregoing facts are true and correct.

     Executed on November 12, 2020.



                                                /s/ Thomas E. Bilek
                                            THOMAS E. BILEK




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